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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

TRENCH TECH INTERNATIONAL, INC.                           §
and TRENCH-TECH, LTD.                                     §
                                                          §
      Plaintiffs                                          §
                                                          §
vs.                                                       §      CIVIL ACTION NO. 4:19-cv-00201-O
                                                          §
TECH CON TRENCHING, INC.,                                 §
DAVID W. CONLON, JEREMY GILBERT                           §
d/b/a GILBERT CONSULTING AND                              §
DESIGN FIRM, JACK SMITH,                                  §
CTS MANUFACTURING, LLC, and                               §
GREEN MACHINE & TOOL, INC.                                §
                                                          §
      Defendants

                         PLAINTIFFS’ THIRD AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

           Plaintiffs Trench Tech International, Inc. and Trench-Tech, Ltd. file this Third Amended

Complaint against Defendants Tech Con Trenching, Inc., David W. Conlon, Jack Smith, CTS

Manufacturing, LLC, and Green Machine & Tool, Inc.,1 and for causes of action respectfully

show the Court the following:

                                                    I.
                                                 PARTIES

           1.      Plaintiff Trench Tech International, Inc. (“Trench Tech International”) is a Texas

corporation with its principal place of business located in Roanoke, Denton County, Texas.

           2.      Plaintiff Trench-Tech, Ltd. is a Texas limited partnership with its principal place

of business located in Roanoke, Denton County, Texas.



1
 The claims against former defendants Nelson Lewis, Inc. and Diamond H. Trenching, Inc. were dismissed for lack
of supplemental jurisdiction, and those two defendants have been sued in Texas state court.


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          3.   Defendant Tech Con Trenching, Inc. (“Tech Con”) is a Texas corporation with its

principal place of business located in Johnson City, Blanco County, Texas. Tech Con has

already made an appearance in this matter.

          4.   Defendant David W. Conlon (“Conlon”) is an individual resident of Blanco

County, Texas. Conlon has already made an appearance in this matter.

          5.   Defendant Jeremy Gilbert d/b/a Gilbert Consulting and Design Firm (“Jeremy

Gilbert” or “Gilbert”) is an individual resident of Tarrant County, Texas. Gilbert has already

made an appearance in this matter. Gilbert filed bankruptcy on September 1, 2020 while he was

under an order of civil contempt by this Court and while sanctions motions were pending against

him in this case. No claims for relief against Gilbert are asserted in this complaint. After

Gilbert’s bankruptcy filing, Plaintiffs sued Gilbert in an adversary proceeding in his bankruptcy

case and filed a motion to have the reference withdrawn in the adversary proceeding on January

15, 2021. Gilbert is named in this complaint only with respect to the pending order of civil

contempt and the sanctions motions and to allege his involvement with respect to the remaining

claims.

          6.   Defendant Jack D. Smith (“Smith”) is an individual resident of Denton County,

Texas. Smith has already made an appearance in this matter.

          7.   Defendant CTS Manufacturing, LLC (“CTS”) is a Texas limited liability company

with its principal place of business located in Johnson City, Blanco County, Texas. CTS may be

served through its registered agent for service of process, Marc A. Jacobi & Associates, at 315

E. Highway Street, Fredericksburg, Texas 78624, or wherever it may be found.

          8.   Defendant Green Machine & Tool, Inc. (“Green Machine”) is a Texas corporation

with its principal place of business located in South Houston, Harris County, Texas. Green




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Machine may be served through its registered agent for service of process, Shane Churchill, at

1007 Pennsylvania, South Houston, Texas 77587, or wherever he may be found.

                                            II.
                                 JURISDICTION AND VENUE

        9.       Trench Tech asserts the following claims in this lawsuit: (1) violation of the

Defend Trade Secrets Act (18 U.S.C. §§ 1836, et seq.); (2) violation of the Texas Uniform Trade

Secrets Act (TUTSA) (Tex. Civ. Prac. & Rem. Code ch. 134A); (3) common law

misappropriation of trade secrets; (4) conspiracy to misappropriate trade secrets for common law

misappropriation of trade secrets; (5) breach of fiduciary duty; (6) conspiracy to breach fiduciary

duty; and (7) tortious interference with existing contract.      This Court has subject matter

jurisdiction over Trench Tech’s claim for violation of the Defend Trade Secrets Act pursuant to

28 U.S.C. § 1331 because that claim arises under the laws of the United States.

        10.      This Court has supplemental jurisdiction over Trench Tech’s TUTSA, common

law misappropriation of trade secrets, and conspiracy to misappropriate trade secrets claims for

common law misappropriation of trade secrets pursuant to 28 U.S.C. § 1367 because these

claims are so related to Trench Tech’s claim for violation of the Defend Trade Secrets Act that

they form part of the same case or controversy under Article III of the United States

Constitution.    In this regard, Trench Tech’s claims for TUTSA violations, common law

misappropriation of trade secrets, and conspiracy to misappropriate trade secrets for common

law misappropriation of trade secrets involve the same nucleus of operative facts as its Defend

Trade Secrets Act claim. Namely, all of the claims involve facts relating to a conspiracy by Tech

Con, Conlon, Jeremy Gilbert, Smith, CTS, and Green Machine to misappropriate Trench Tech’s

trade secrets, and all four claims involve facts relating to the misappropriation of Trench Tech’s

trade secrets.



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       11.     This Court has supplemental jurisdiction over Trench Tech’s breach of fiduciary

duty and conspiracy to breach fiduciary duty claims pursuant to 28 U.S.C. § 1367 because those

claims are so related to Trench Tech’s claim for violation of the Defend Trade Secrets Act that

they form part of the same case or controversy under Article III of the United States

Constitution. In this regard, Trench Tech’s breach of fiduciary duty and conspiracy to breach

fiduciary duty claims involve the same nucleus of operative facts as its Defend Trade Secrets Act

claim. Namely, all three of those claims involve the fact that Trench Tech’s former employees,

Smith and Jeremy Gilbert conspired to and did in fact breach their fiduciary duties owed to

Trench Tech by divulging Trench Tech’s trade secrets to third parties.

       12.     This Court has supplemental jurisdiction over Trench Tech International’s

tortious interference with an existing contract claim pursuant to 28 U.S.C. § 1367 because this

claim is so related to Trench Tech’s claim for violation of the Defend Trade Secrets Act that they

form part of the same case or controversy under Article III of the United States Constitution. In

this regard, Trench Tech’s tortious interference with an existing contract claim involves the same

nucleus of operative facts as its Defend Trade Secrets Act claim. Namely, both claims arise out

of the protection of Trench Tech’s trade secrets, and both claims involve facts relating to the

unauthorized use of Trench Tech’s trade secrets to manufacture parts for Trench Tech trenching

machines. The existing contract at issue in Trench Tech’s tortious interference claim—an

Agreed Permanent Injunction—was entered specifically to protect Trench Tech’s trade secrets

and to protect it and its wholly owned subsidiary, Southwest Industrial Sales, Inc., from unfair

competition arising from misappropriation of Trench Tech’s trade secrets. Tech Con tortiously

interfered with that Agreed Permanent Injunction by willfully and intentionally causing or

inducing the parties to the Agreed Permanent Injunction to violate it by purchasing Trench Tech




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parts from a supplier other than through Trench Tech and from SIS—a supplier that was using

Trench Tech’s misappropriated trade secrets to make the parts for Tech Con.

       13.     Venue is proper in the Northern District of Texas pursuant to 28 U.S.C.

§ 1391(b)(1) because original defendant Jeremy Gilbert, who has filed bankruptcy, resides in the

Northern District of Texas, and all defendants in this action are residents of Texas.

                                           III.
                                  FACTUAL BACKGROUND

A.     Trench Tech’s Business and Trade Secrets and Its Related Entities

       14.     Trench Tech International is an industry leader in the manufacturing of rugged,

mechanically driven, chain-rock trenchers for cable, pipeline, water site development, and

underground utility construction products. Trench Tech International and its wholly owned

subsidiary, Southwest Industrial Sales, Inc. (“SIS”), also service and provide parts for the

trenchers that Trench Tech International manufactures. Trench Tech International’s trenchers

and its and SIS’s parts have been used in interstate commerce across the United States since

approximately 1999. More specifically, Trench Tech International, Trench-Tech, Ltd., and SIS

have sold trenchers and/or parts in Texas, California, Arizona, New Mexico, Colorado, Utah,

Nevada, Tennessee, Mississippi, Florida, Arkansas, Oklahoma, and Kansas. Trench Tech

International does not sell trencher parts directly to domestic customers. Since approximately

late 2012, SIS has handled the domestic parts sales business of Trench Tech International. Before

then, the domestic parts sales business of Trench Tech International was handled by Trench-

Tech, Ltd.

       15.     Trench Tech’s engineers and design teams have developed designs for certain

trenching machinery, trenching parts, and other specialty equipment. Trench Tech’s design team

possesses more than fifty (50) years of experience in trenching by having studied and used



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trenching techniques and equipment across the world. This experience has provided Trench

Tech an advantage over its competitors and has led to Trench Tech’s in-depth understanding and

expertise of how to create machinery that literally digs, cuts and trenches through hard-ground

materials productively and cost-efficiently. Trench Tech designs and develops its trenching

equipment to perform at high levels with low maintenance requirements. This information and

Trench Tech’s designs and related information (the “Design Secrets”) constitute protectable

trade secrets under the Defend Trade Secrets Act, TUTSA, and Texas common law. The Design

Secrets can be used by a competitor to obtain an unfair competitive advantage in the trenching

equipment and trenching parts business.

       16.      Trench Tech provides its Design Secrets to its vendor manufacturers in order to

manufacture the components of the trenching machinery and trenching parts. However, prior to

disclosing its Design Secrets to a vendor manufacturer, Trench Tech obtains from its vendor

manufacturer and its agents an agreement not to disclose its Design Secrets and to keep them

confidential.

       17.      The production of trenching machinery and trenching parts is a highly

competitive business in which success depends almost entirely on information, designs, and

research about trenching techniques and equipment development across the world.           This

competition and Trench Tech’s experience have helped drive its in-depth understanding and

expertise in how to design trenching machinery and trenching parts, including how to document

and save information necessary to manufacture its trenching machinery and parts. Additionally,

success in the competitive trenching manufacturing and trenching parts industry also depends on

research about customers such as: customer lists; the identities of customer contacts; the

identities of and contact information for customer agents; pricing information; and information




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concerning the costs and expenditures associated with operating a trenching machinery and

trenching parts production business.          Success also depends on research about vendor

manufacturers and service providers, including contacts for vendors, vendor pricing, vendor

terms, and vender capabilities. All these types of information, including its Design Secrets,

constitute Trench Tech’s confidential information (“Business Secrets”). If disclosed, Trench

Tech’s Business Secrets can be used by a competitor to obtain an unfair competitive advantage

in the trenching machinery and trenching parts business.

       18.     Through its efforts over the years, Trench Tech has developed its substantial body

of Business Secrets described above, which is indispensable to its business. This information is

necessarily confidential in that it requires a substantial investment of time and resources to

develop and is not readily obtainable or easily discoverable from other sources. If disclosed to

competitors, Trench Tech’s Business Secrets present substantial advantages to Trench Tech

competitors, allowing them to compete unfairly against Trench Tech by stealing what took years

of work and investment for Trench Tech to develop and nurture.

       19.     Trench Tech has taken reasonable measures to guard against disclosure of its

Business Secrets, which could not be acquired in any way other than by extensive research

efforts, the expenditure of large amounts of money, and years of experience. In light of these

facts, Trench Tech’s Business Secrets constitute protectable trade secrets under Texas and

federal law.

       20.     Trench Tech International, Inc. is a closely held Texas corporation that Jerry

Gilbert formed in 1996. Its shareholders are Jerry Gilbert, his brother John Gilbert, and his son-

in-law Kelly Ralls.   Initially, the business of Trench Tech International, Inc. was being a

distributor for Trencor trenching machines.




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       21.     Trench Tech Management, L.C. is a limited liability company that Jerry Gilbert

and others formed in 1997. Jerry Gilbert is the sole member of Trench Tech Management, L.C.,

and he is and always has been its President and managing member. The business of Trench Tech

Management, L.C. is managing the business of Trench-Tech, Ltd. as its general partner.

       22.     Trench-Tech, Ltd. is a limited partnership that Jerry Gilbert formed in 1997. Its

general partner is Trench Tech Management, L.C., and its limited partners are Jerry Gilbert, John

Gilbert, and Kelly Ralls. Beginning in 1999, when Trench Tech International, Inc. began to

design, manufacture, and sell trenchers and trencher parts, the functions of Trench-Tech, Ltd.

were owning the real estate that was the location of Trench Tech International, Inc.’s business

and formally employing the persons who carried out Trench Tech International, Inc.’s business.

Trench-Tech, Ltd. also sold trencher parts domestically until Southwest Industrial Sales, Inc.

took over domestic sales of trencher parts in approximately late 2012 to early 2013.

       23.     Southwest Industrial Sales, Inc. (“SIS”) is a Texas corporation that was formed in

2007. LaQuita Gilbert, Jerry Gilbert’s wife, is the President of SIS, and the sole shareholder of

SIS is Trench Tech International, Inc. SIS is a wholly owned subsidiary of Trench Tech

International, Inc.      SIS took over the domestic sales business of Trench-Tech, Ltd. in

approximately late 2012 to early 2013. In 2013, SIS took over Trench-Tech, Ltd.’s employer

and payroll functions.

       24.     Because of Trench Tech International, Inc.’s potential exposure to product-

liability claims and suits as a Trencor trenching machine distributor, Trench-Tech, Ltd.’s initial

functions included owning the real estate that was the location of Trench Tech International,

Inc.’s business and employing the persons who carried out Trench Tech International, Inc.’s

business. While Trench-Tech, Ltd. formally employed and directly paid the engineering (design)




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team, their wages were charged back to Trench Tech International, Inc., which reimbursed

Trench-Tech, Ltd. for the engineering payroll. When Trench Tech International, Inc. changed its

business in 1999 to designing, manufacturing, and selling trenchers and trencher parts, Trench-

Tech, Ltd. continued its function of formally employing and directly paying the engineering

(design) team, and their wages were still charged back to Trench Tech International, Inc., which

reimbursed Trench-Tech, Ltd. for the engineering payroll. Also at that time, a decision and

agreement were made by the three principals of Trench-Tech, Ltd., Trench Tech Management,

L.C., and Trench Tech International, Inc.—Jerry Gilbert, John Gilbert, and Kelly Ralls—that all

intellectual property relating to trenchers and trencher parts, including all intellectual property

created by the engineering (design) team such as design drawings of trenchers and trencher parts,

would be owned by Trench Tech International, Inc.

       25.     This decision and agreement have been reflected in the title block of almost all of

Trench Tech International, Inc.’s trade-secret design drawings since 1999, as illustrated by the

following:

                                  DRAWING PROPERTY OF:
                                        TRENCH-TECH
                                    INTERNATIONAL, INC.
                               P.O. BOX 99 – 330 BENSON LANE
                                     ROANOKE, TX. 76262
                                     © 1999 TRENCH-TECH


       26.     This decision and agreement are also reflected in Trench Tech International,

Inc.’s application for and registration of its “TRENCH-TECH™” trademark in 2000 with the

United States Patent and Trademark Office.

       27.     Trench Tech International, Inc. contends that it owns the Design Secrets and the

Business Secrets, denies that Trench-Tech, Ltd. owns the Design Secrets and the Business




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Secrets, and contends that it has standing to maintain the causes of action asserted in this

complaint. Defendants contend that Trench Tech International, Inc. does not own the Design

Secrets and the Business Secrets and therefore lacks standing, and they assert that Trench-Tech,

Ltd. owns the Design Secrets and the Business Secrets. In the event that the Court or a jury

concludes that Trench Tech International, Inc. does not have standing because Trench-Tech, Ltd.

owns the Design Secrets and the Business Secrets, Trench-Tech, Ltd. is being made a party

plaintiff in this complaint. Unless otherwise indicated, Trench Tech International, Inc. and

Trench-Tech, Ltd. are collectively referred to herein as “Trench Tech” or “Plaintiffs.”

B.     Former Trench Tech Employees Jeremy Gilbert and Jack Smith Take Trench
       Tech’s Trade Secrets and Use Them Without Trench Tech’s Permission to Benefit
       Tech Con, Conlon, CTS, and Green Machine

       28.     As is evident, the Trench Tech entities are family owned and operated businesses.

Jerry Gilbert and John Gilbert are brothers. John Gilbert, Jeremy Gilbert’s father, is the chief

design engineer for Trench Tech. Kelly Ralls, the third principal, is Jerry Gilbert’s son-in-law.

Jeremy Gilbert’s father, uncle, and cousin-in-law are the officers, directors, and shareholders of

Trench Tech International and the limited partners in Trench-Tech, Ltd. LaQuita Gilbert, the

wife of Jerry Gilbert and the President of SIS, is Jeremy Gilbert’s aunt.

       29.     Jeremy Gilbert began employment with Trench Tech on May 9, 2000. As a result

of Jeremy Gilbert’s position of trust as a family member and employee, Jeremy Gilbert had

access to Trench Tech’s Business Secrets, including specifically design drawings.

       30.     Jeremy Gilbert resigned from employment with Trench Tech on August 3, 2012.

When Jeremy Gilbert resigned from Trench Tech, he had wrongfully acquired and retained

Trench Tech’s Business Secrets on his personal computer without Trench Tech’s knowledge or

consent.




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       31.    Following Jeremy Gilbert’s resignation from Trench Tech, he began working for

Tech Con. Tech Con hired Jeremy Gilbert at Conlon’s direction in order to obtain access to

Trench Tech’s Business Secrets, including specifically its design drawings, and Tech Con paid

Jeremy Gilbert a salary approximately three times more than he had been making at Trench

Tech. Conlon and Tech Con knew that Jeremy Gilbert was employed by Trench Tech and knew

of the relationship of trust that exists in family businesses such as Trench Tech. Conlon and

Tech Con knew that Jeremy Gilbert was not a design engineer and did not have the capability to

design and engineer parts for the machines manufactured by Trench Tech. Conlon and Tech Con

also knew that Jeremy Gilbert did not own the confidential drawings, designs, and other Business

Secrets of Trench Tech and had obtained such information through improper means.

       32. Jeremy Gilbert provided Trench Tech’s Business Secrets to Tech Con and Conlon.

Because Jeremy Gilbert had misappropriated Trench Tech’s digital or “native” design drawings

on his laptop, he was able to remove Trench Tech’s name in the title block and replace it with

“GILBERT CONSULTING AND DESIGN.” In furtherance of their design-drawing laundering

scheme and to benefit Tech Con and Conlon, Jeremy Gilbert also changed the title block a

second time, adding “TECH CON TRENCHING.” But not being a design engineer and being

unskilled in the software, Jeremy Gilbert was not able to do much more than change the names in

the title blocks. The design drawings were too complex for him. And most of them were too

complex to be created by reverse engineering.

       33.    After hiring Jeremy Gilbert in August 2012 and having him “launder” Trench

Tech’s design drawings, Tech Con and Conlon’s next step in their scheme to misappropriate and

use Trench Tech’s Business Secrets was to form CTS on April 9, 2013 as the entity to order and

buy replacement parts for Tech Con’s trenching machines that had been manufactured by Trench




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Tech and to order and buy parts and build their own Trench Tech trenching machines. Having

Trench Tech’s Business Secrets and Design Secrets, and having laundered the Design Secrets so

that either “GILBERT CONSULTING AND DESIGN” or “TECH CON TRENCHING” would

be on the design drawings for Trench Tech’s trenching machines and parts, Tech Con, Gilbert,

and CTS could have any number of machine shops make the parts needed to replace broken or

worn parts and to build Tech Con and CTS’s own trenching machines—all at a much lower price

than buying the trenching machines and parts from Trench Tech and SIS because they had not

incurred the development costs for those design drawings. Marc Jacobi, Tech Con’s outside

accountant and financial consultant who helped Tech Con and Conlon set up CTS, testified

under oath in prior, unrelated litigation that CTS was set up to buy parts for repairs to Tech

Con’s Trench Tech trenchers and to buy parts and build Trench Tech trenchers for Tech Con.

Jacobi explained that CTS was formed because Tech Con was having trouble getting parts

manufacturers to make parts for Tech Con’s Trench Tech trenchers and that they wanted to “get

around” Trench Tech and buy parts directly from the parts manufacturers, not from Trench Tech.

Conlon himself testified under oath in the same prior, unrelated litigation that he set up CTS so

that, “[i]nstead of having to go through other people to order parts and then they put 30 percent

markup on it,” Tech Con could buy the parts from CTS.

       34.    Also, Jacobi testified that Tech Con and CTS built their first Trench Tech

trencher, a Model 2500 and numbered TC 001 by Tech Con, starting it in 2014 and completing it

in October 2015. The mainframe for TC 001 was purchased through Trench Tech, which had it

built by Longhorn Steel in Houston. Trench Tech’s John Gilbert personally delivered Trench

Tech’s design drawings for the Model 2500’s mainframe to Longhorn Steel and obtained its

standard nondisclosure agreement from Longhorn Steel. Trench Tech and SIS sold many of the




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parts for TC 001 to Jeremy Gilbert, who at that time had ended his employment with Tech Con

and had started his own trencher parts business, having accomplished what Tech Con had hired

him to do—steal Trench Tech’s Business Secrets and Design Secrets, bring the Design Secrets to

Tech Con, and launder them so that they had Gilbert’s or Tech Con’s name on them. Longhorn

Steel built the Trench Tech 2500 mainframe for Jeremy Gilbert and Gilbert Consulting that

became Tech Con’s TC 001. Thereafter, and unknown to Trench Tech, Tech Con and CTS next

built another knockoff Trench Tech Model 2500 trencher, numbered TC 002. Jacobi gave

conflicting testimony about when the work to build TC 002 began, stating both November 2015

and December 2016, and he testified that it was completed and put into service in June 2017.

Green Machine, which had hired former key employees of Longhorn Steel (which closed when

its owner died), including sales rep Robert La Chiusa, built the mainframe for the knockoff

TC 002, and it was knowingly built by Green Machine using Trench Tech’s misappropriated

design drawings without Trench Tech’s approval, permission, or consent.

       35.    Jeremy Gilbert provided Trench Tech’s Business Secrets to Tech Con, Conlon,

CTS, and Green Machine. Jeremy Gilbert knew that he had a duty not to disclose Trench Tech’s

Business Secrets without Trench Tech’s consent. In 2017, and unknown to Trench Tech, Jeremy

Gilbert began ordering mainframes for Trench Tech Model 2000 trenchers from Green Machine,

and they were sold to Tech Con along with a “product consulting fee” for providing the

confidential drawings, designs, and trade secrets to Tech Con and CTS for each mainframe that

Green Machine made. Tech Con paid Jeremy Gilbert a consulting fee to have the Trench Tech

drawings, designs, and trade secrets converted by Green Machine to a three-dimension (3D)

design model to allow for the production of each of the four mainframes for the Trench Tech

Model 2000 trencher. Jeremy Gilbert provided the Trench Tech trade-secret drawings for the




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2000 mainframe to Green Machine, which did the actual 3D drawing conversion and billed

Gilbert Consulting $2,000.00. Green Machine built at least four knockoff Trench Tech Model

2000 mainframes for Jeremy Gilbert, Tech Con, and CTS knowingly using Trench Tech’s

misappropriated design drawings.

       36.    Trench Tech first learned that Jeremy Gilbert had misappropriated its trade secrets

and had provided them to Tech Con and Conlon in April 2018. Trench Tech first learned that

Jeremy Gilbert had provided its misappropriated trade secrets to Green Machine and that Green

Machine had used them in early 2019. Trench Tech first learned that Jeremy Gilbert had

provided its misappropriated trade secrets to CTS in January 2020.

       37.    Smith was employed by Trench Tech as a design engineer from January 6, 2003

through April 13, 2009. As an employee of Trench Tech, Smith designed parts and generated

technical drawings for Trench Tech parts. In order to perform his job, Smith had access to

almost all of Trench Tech’s Business Secrets, including specifically its design drawings.

Although Smith claims that he returned Trench Tech’s designs when he ceased working for

Trench Tech, Smith wrongfully retained Trench Tech’s Business Secrets without Trench Tech’s

knowledge or consent.     Smith provided Trench Tech’s Business Secrets to Tech Con and

Conlon. Smith has also attempted to conceal the use of Trench Tech’s Business Secrets, but the

designs and drawings provided by Smith to third parties were clearly derived from Trench

Tech’s Business Secrets, and not through reverse engineering. Smith provided Trench Tech’s

Business Secrets to Tech Con and Conlon. Smith knew that he had a duty not to disclose Trench

Tech’s Business Secrets without Trench Tech’s consent.

       38.    Conlon and Tech Con knew that Smith did not prepare the designs and drawings

without the use of Trench Tech’s Business Secrets acquired by improper means.




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       39.     Trench Tech first learned that Smith had misappropriated its trade secrets and had

provided them to Tech Con and Conlon in 2018.

C.     While an Agreed Permanent Injunction Prevented the State Court Defendants
       (defined below) from Selling Trench Tech Parts, Tech Con Purchased Trench Tech
       Parts from one of the State Court Defendants with Full Knowledge of the Agreed
       Permanent Injunction

       40.     On or about April 1, 2011, Trench Tech International filed suit against Harold

Randolph Lennard, Jr., Ronald Lynn Perdue, C.R.P. Machine & Welding, Inc. and Conex

Equipment Manufacturing, LLC (collectively referred to as the “State Court Defendants”) in the

348th District Court of Tarrant County, Texas in Cause No. 348-251999-11 (the “Lawsuit”).

The Lawsuit involved Trench Tech International’s claims that the State Court Defendants had

misappropriated Trench Tech’s Business Secrets, including its trade secrets.

       41.     On or about August 16, 2012, Trench Tech International and the State Court

Defendants entered into a Compromise and Settlement Agreement (the “Agreement”) with

regards to the Lawsuit. The Agreement provided that the State Court Defendants would not

market or sell a machine part that is unique and specific to Trench Tech trenching machines for a

period of five (5) years. The Agreement also provided for the entry of a Permanent Injunction

prohibiting the State Court Defendants from directly or indirectly marketing, manufacturing, or

selling parts that are unique to and specifically for machines manufactured by Trench Tech. In

the time frame of late 2012 to early 2013, SIS, Trench Tech International’s wholly owned

subsidiary, took over Trench-Tech, Ltd.’s function as the domestic parts sales business of Trench

Tech International.

       42.     On or about January 23, 2013, an Agreed Permanent Injunction was signed by the

State District Court prohibiting the State Court Defendants from directly or indirectly marketing,

manufacturing, or selling parts that are unique to and specifically for machines that have been



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manufactured by Trench Tech for a period of five (5) years. A true and correct copy of the

Agreed Permanent Injunction is attached hereto as Exhibit “A.”          The Agreed Permanent

Injunction also prohibited the State Court Defendants from directly or indirectly disclosing to

any third party any of Trench Tech’s confidential information, trade secrets, and/or proprietary

information, including but not limited to Trench Tech’s designs and specifications. The Agreed

Permanent Injunction was entered to keep the Design Secrets confidential and to prevent the

State Court Defendants from using Trench Tech’s trade secrets to manufacture and sell Trench

Tech parts that customers would otherwise be ordering and purchasing from SIS. Instead, those

customers wanting to purchase parts unique to and specifically for machines manufactured by

Trench Tech would have to purchase them through Trench Tech, the owner of the Design Secrets

for those parts, and from SIS, its wholly owned subsidiary.

       43.     Tech Con learned of the restrictions placed upon the State Court Defendants by

the Agreed Permanent Injunction shortly after the Agreed Permanent Injunction was entered,

specifically including the provisions that protected Trench Tech’s Design Secrets and prohibited

the State Court Defendants from directly or indirectly marketing, manufacturing, or selling parts

that are unique to and specifically for machines that have been manufactured by Trench Tech.

More specifically, Harold Randolph Lennard, Jr. (one of the State Court Defendants) told Conlon

of Tech Con of the restrictions placed in the Agreed Permanent Injunction shortly after the

Agreed Permanent Injunction was entered. A true and correct copy of excerpts from Lennard’s

deposition reflecting that he told Tech Con about the restrictions in the Agreed Permanent

Injunction are attached hereto as Exhibit “B.”

       44.     Despite knowing of the Agreed Permanent Injunction’s restrictions, Tech Con

willfully and intentionally interfered with the Agreed Permanent Injunction by purchasing from




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Conex Equipment Manufacturing, LLC (one of the State Court Defendants) parts that were

unique to and specifically for machines manufactured by Trench Tech and that were

manufactured using Trench Tech’s Design Secrets in violation and breach of the Agreed

Permanent Injunction. Before the Lawsuit, the State Court Defendants had misappropriated

Trench Tech’s confidential vendor pricing list and design drawings and had informed customers

that they could sell parts unique to and specifically for Trench Tech machines at a price much

lower (at cost plus ten per cent) than they would pay Trench Tech and SIS for the same part.

The State Court Defendants could do this because they were using Trench Tech’s

misappropriated trade secrets and had not incurred the research, development, and labor costs to

create those secrets. These purchases were made after Tech Con learned of the restrictions but

while the restrictions were still in place. And these purchases were initiated by Tech Con

because of their strong motive to buy the parts from Conex, who they knew would undersell

Trench Tech and SIS, and who they knew needed the business because of the Agreed Permanent

Injunction’s restrictions and were therefore susceptible to being induced or persuaded to breach

and violate the Agreed Permanent Injunction. Tech Con actively participated in getting C.R.P.

and Conex to violate the Agreed Permanent Injunction’s restrictions.

       45.    True and correct copies of select invoices reflecting purchases made by Tech Con

in violation of the Agreed Permanent Injunction are attached hereto as Exhibit “C.” As can be

seen in these invoices, Tech Con purchased from Conex parts that were unique to and

specifically for machines manufactured by Trench Tech at various points from February 11,

2013 through July 29, 2017. The invoices attached as Exhibit “C” include parts purchased for




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various Trench Tech trenching machines, including but not limited to, models TT-2000, TT-

2300, and TT-2500.2

        46.     Trench Tech first learned that Tech Con had interfered with the Agreed

Permanent Injunction by purchasing unique Trench Tech parts on or about April 30, 2018, when

the attorney representing Trench Tech International in the State Court Lawsuit was provided the

invoices attached as Exhibit “C” by the attorney representing the State Court Defendants. Prior

to that date, Trench Tech was unaware that Tech Con had purchased unique Trench Tech parts

from the State Court Defendants in violation of the Agreed Permanent Injunction.

        47.     Trench Tech International has suffered damages as a proximate result of Tech

Con’s tortious interference with the Agreed Permanent Injunction by their purchases of the

unique Trench Tech parts from Conex. In this regard (and as reflected in the invoices attached

hereto as Exhibit “C”), Conex was paid monies by Tech Con relating to the unique Trench Tech

parts. If Tech Con had not interfered with the Agreed Permanent Injunction by purchasing the

parts from Conex, those parts would have been purchased through Trench Tech and from SIS.

Tech Con has been unjustly enriched from its purchases of the unique Trench Tech parts through

Conex, rather than through Trench Tech International and from SIS.

                                               IV.
                                        CAUSES OF ACTION

A.      Violation of Defend Trade Secrets Act for Misappropriation after May 10, 2016
        (Against Tech Con, Conlon, Smith, CTS, and Green Machine)

        48.     As described above, Trench Tech created and owned multiple trade secrets

relating to the design, manufacture, use and sale of trenching machinery and trenching parts.



        2
         Almost all of the invoices attached as Exhibit “C” reflect in the “For” line the type of Trench Tech
machine that the purchased parts related to. For example, some of the notations on the “For” line include:
“TT2300,” “TT2500,” “2300,” “2500,” and “2000.”


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       49.    Tech Con, Conlon, Gilbert, Smith, CTS, and Green Machine willfully and

maliciously acquired, disclosed, or used Trench Tech’s trade secrets through improper means.

       50.    Trench Tech has been harmed as a result of Tech Con’s, Conlon’s, Gilbert’s,

Smith’s, CTS’s, and Green Machine’s misappropriation of its trade secrets. Trench Tech is

entitled to recover damages consisting of the value of what Tech Con, Conlon, Smith, CTS, and

Green Machine gained through their misappropriation.

       51.    Trench Tech is entitled to entry of a permanent injunction, including but not

limited to a permanent injunction: (a) that prohibits Smith, Conlon, Tech Con, CTS, and Green

Machine from directly or indirectly using any of Trench Tech’s trade secrets, confidential

information, and proprietary information, including but not limited to Trench Tech’s machine

and part designs and specifications, build sheets, and vendor lists, in the manufacturing,

marketing, selling, or use of parts that are designed or manufactured using any of Trench Tech’s

trade secrets, confidential information, and proprietary information; (b) that prohibits Smith,

Conlon, Tech Con, CTS, and Green Machine from directly or indirectly using any machine and

part designs and specifications and build sheets that were derived from Trench Tech’s machine

and part designs and specifications and build sheets in the manufacturing, marketing, selling, or

use of parts; (c) that prohibits Smith, Conlon, Tech Con, CTS, and Green Machine from directly

or indirectly disclosing to any third party any of Trench Tech’s trade secrets, confidential

information, and proprietary information, including but not limited to Trench Tech’s machine

and machine part designs and specifications, build sheets, and vendor lists; (d) that prohibits

Smith, Conlon, Tech Con, CTS, and Green Machine from directly or indirectly manufacturing,

marketing, or selling parts that are designed or manufactured using any of Trench Tech’s trade

secrets, confidential information, and proprietary information; (e) that prohibits Smith, Conlon,




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Tech Con, CTS, and Green Machine from directly or indirectly approaching, soliciting, or

contacting vendors for the purpose of manufacturing parts that are designed or manufactured

using any of Trench Tech’s trade secrets, confidential information, and proprietary information;

(f) that prohibits Smith, Conlon, Tech Con, CTS, and Green Machine from directly or indirectly

approaching, soliciting, or contacting a vendor for the purpose of buying parts for machines that

have been manufactured by Trench Tech if the vendor’s identity was obtained from Trench

Tech’s vendors list; and (g) that prohibits Conlon, Tech Con, CTS, and Green Machine from

directly or indirectly using any of Trench Tech’s trade secrets, confidential information, and

proprietary information, including but not limited to Trench Tech’s machine and part designs and

specifications, build sheets, and vendor lists, in the manufacturing of any machine as a knockoff

of a Trench Tech machine, all pursuant to 18 U.S.C. § 1836(b)(3)(A).

       52.     Because Trench Tech’s trade secrets were              willfully and    maliciously

misappropriated, Trench Tech seeks an award of exemplary damages in an amount of not more

than two times the amount of actual damages awarded against Tech Con, Conlon, Smith, CTS,

and Green Machine pursuant to 18 U.S.C. § 1836(b)(3)(C).

       53.     Because Trench Tech’s trade secrets were              willfully and    maliciously

misappropriated, Trench Tech also seeks its costs and attorneys’ fees pursuant to 18 U.S.C.

§ 1836(b)(3)(d).

B.     Violation of TUTSA (TEX. CIV. PRAC. & REM. CODE ch. 134A) for Misappropriation
       after August 31, 2013 (Against Tech Con, Conlon, Smith, CTS, and Green Machine)

       54.     As described above, Trench Tech created and owned multiple trade secrets

relating to the design, manufacture, use and sale of trenching machinery and trenching parts.

       55.     Tech Con, Conlon, Gilbert, Smith, CTS, and Green Machine willfully and

maliciously acquired, disclosed, or used Trench Tech’s trade secrets through improper means.



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       56.    Trench Tech has been harmed as a result of Tech Con’s, Conlon’s, Gilbert’s,

Smith’s, CTS’s, and Green Machine’s misappropriation of its trade secrets. Trench Tech is

entitled to recover damages consisting of the value of what Tech Con, Conlon, Smith, CTS, and

Green Machine gained—the amount of their unjust enrichment—through their misappropriation.

       57.    Trench Tech is entitled to entry of a permanent injunction, including but not

limited to a permanent injunction: (a) that prohibits Smith, Conlon, Tech Con, CTS, and Green

Machine from directly or indirectly using any of Trench Tech’s trade secrets, confidential

information, and proprietary information, including but not limited to Trench Tech’s machine

and part designs and specifications, build sheets, and vendor lists, in any respect; (b) that

prohibits Smith, Conlon, Tech Con, CTS, and Green Machine from directly or indirectly using

any machine and part designs and specifications and build sheets that were derived from Trench

Tech’s machine and part designs and specifications and build sheets in the manufacturing,

marketing, selling, or use of parts; (c) that prohibits Smith, Conlon, Tech Con, CTS, and Green

Machine from directly or indirectly disclosing to any third party any of Trench Tech’s trade

secrets, confidential information, and proprietary information, including but not limited to

Trench Tech’s machine and machine part designs and specifications, build sheets, and vendor

lists; (d) that prohibits Smith, Conlon, Tech Con, CTS, and Green Machine from directly or

indirectly manufacturing, marketing, or selling parts that are designed or manufactured using any

of Trench Tech’s trade secrets, confidential information, and proprietary information; (e) that

prohibits Smith, Conlon, Tech Con, CTS, and Green Machine from directly or indirectly

ordering or purchasing parts that are designed or manufactured using any of Trench Tech’s trade

secrets, confidential information, and proprietary information from either Jeremy Gilbert, Tech

Con, CTS, or Green Machine; (f) that prohibits Smith, Conlon, Tech Con, CTS, and Green




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Machine from directly or indirectly approaching, soliciting, or contacting vendors for the

purpose of manufacturing parts that are designed or manufactured using any of Trench Tech’s

trade secrets, confidential information, and proprietary information; (g) that prohibits Smith,

Conlon, Tech Con, CTS, and Green Machine from directly or indirectly approaching, soliciting,

or contacting a vendor for the purpose of buying parts for machines that have been manufactured

by Trench Tech if the vendor’s identity was obtained from Trench Tech’s vendors list; (h) that

orders Smith, Conlon, Tech Con, CTS, and Green Machine to return to Trench Tech any of

Trench Tech’s trade secrets, confidential information, and proprietary information, including but

not limited to Trench Tech’s machine and machine part designs and specifications, build sheets,

and vendor lists; and (i) that orders Smith, Conlon, Tech Con, CTS, and Green Machine to

destroy any machine and machine part designs and specifications and build sheets that were

created by using Trench Tech’s machine and machine part designs and specifications and build

sheets and to destroy any vendor lists that contain vendors whose identities were acquired from

Trench Tech vendors lists; and (j) that prohibits Conlon, Tech Con, CTS, and Green Machine

from directly or indirectly using any of Trench Tech’s trade secrets, confidential information,

and proprietary information, including but not limited to Trench Tech’s machine and part designs

and specifications, build sheets, and vendor lists, in the manufacturing of any machine as a

knockoff of a Trench Tech machine, all pursuant to Texas Civil Practice and Remedies Code

§ 134A.003.

       58.    Because Trench Tech’s trade secrets were              willfully and    maliciously

misappropriated, Trench Tech seeks an award of exemplary damages in an amount of not more

than two times the amount of actual damages awarded against Tech Con, Conlon, Smith, CTS,

and Green Machine under Texas Civil Practice and Remedies Code § 134A.004(b).




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       59.     Because Trench Tech’s trade secrets were               willfully and    maliciously

misappropriated, Trench Tech also seeks its attorneys’ fees under Texas Civil Practice and

Remedies Code § 134A.005(3).

C.     Common Law Misappropriation of Trade Secrets for Misappropriation Before
       September 1, 2013 (Against Tech Con, Conlon, Smith, and CTS)

       60.     As described above, Trench Tech created and owned multiple trade secrets

relating to the design, manufacture, use, and sale of trenching machinery and trenching parts.

       61.     Tech Con, Conlon, Gilbert, Smith, and CTS acquired, disclosed, or used Trench

Tech’s trade secrets through improper means, in violation of a confidential relationship with

Trench Tech, or after acquiring the trade secrets with notice that their disclosure was improper.

       62.     Trench Tech has been harmed as a result of Tech Con’s, Conlon’s, Gilbert’s,

Smith’s, and CTS’s misappropriation of its trade secrets. Trench Tech is entitled to recover

damages consisting of the value of what Tech Con, Conlon, Smith, and CTS gained—the amount

of their unjust enrichment—through their misappropriation.

       63.     Trench Tech is entitled to entry of a permanent injunction, including but not

limited to a permanent injunction: (a) that prohibits Smith, Conlon, Tech Con, and CTS from

directly or indirectly using any of Trench Tech’s trade secrets, confidential information, and

proprietary information, including but not limited to Trench Tech’s machine and part designs and

specifications, build sheets, and vendor lists, in the manufacturing, marketing, selling, or use of

parts that are designed or manufactured using any of Trench Tech’s trade secrets, confidential

information, and proprietary information; (b) that prohibits Smith, Conlon, Tech Con, and CTS

from directly or indirectly using any machine and part designs and specifications and build

sheets that were derived from Trench Tech’s machine and part designs and specifications and

build sheets in the manufacturing, marketing, selling, or use of parts; (c) that prohibits Smith,



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Conlon, Tech Con, and CTS from directly or indirectly disclosing to any third party any of

Trench Tech’s trade secrets, confidential information, and proprietary information, including but

not limited to Trench Tech’s machine and machine part designs and specifications, build sheets,

and vendor lists; (d) that prohibits Smith, Conlon, Tech Con, and CTS from directly or indirectly

manufacturing, marketing, or selling parts that are designed or manufactured using any of Trench

Tech’s trade secrets, confidential information, and proprietary information; (e) that prohibits

Smith, Conlon, Tech Con, and CTS from directly or indirectly approaching, soliciting, or

contacting vendors for the purpose of manufacturing parts that are designed or manufactured

using any of Trench Tech’s trade secrets, confidential information, and proprietary information;

and (f) that prohibits Smith, Conlon, Tech Con, and CTS from directly or indirectly approaching,

soliciting, or contacting a vendor for the purpose of buying parts for machines that have been

manufactured by Trench Tech if the vendor’s identity was obtained from Trench Tech’s vendors

list, all pursuant to Texas common law.

       64.    Because Trench Tech’s trade secrets were misappropriated with malice, Trench

Tech seeks an award of exemplary damages against Tech Con, Conlon, Smith, and CTS under

Texas Civil Practice and Remedies Code Chapter 41.

D.     Conspiracy to Misappropriate Trade Secrets for Common Law Misappropriation
       Before September 1, 2013 (Against Tech Con, Conlon, Smith, and CTS)

       65.    Tech Con, Conlon, Gilbert, Smith, and CTS sought to misappropriate Trench

Tech’s trade secrets, and they reached a meeting of the minds regarding misappropriating Trench

Tech’s trade secrets. Tech Con, Conlon, Gilbert, Smith, and CTS participated in one or more

unlawful, overt acts taken in pursuit of the misappropriation of Trench Tech’s trade secrets—

namely: (1) Tech Con, and/or Conlon asked Gilbert and Smith to take Trench Tech’s trade

secrets without Trench Tech’s authorization; (2) Gilbert and/or Smith took Trench Tech’s trade



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secrets without Trench Tech’s authorization; and (3) Tech Con and CTS used Trench Tech’s

trade secrets without Trench Tech’s authorization to further Tech Con and CTS’s business.

Trench Tech has suffered damages as a proximate result of Tech Con, Conlon, Gilbert, Smith,

and CTS’s conspiracy to misappropriate Trench Tech’s trade secrets. Tech Con, Conlon, Smith,

and CTS should be held jointly and severally liable for all acts done by any of them or by Gilbert

in furtherance of their conspiracy to misappropriate Trench Tech’s trade secrets.

E.     Breach of Fiduciary Duty (Against Smith)

       66.     As a former employee of Trench Tech, Smith owed Trench Tech certain fiduciary

duties relating to Trench Tech’s Business Secrets.

       67.     Smith breached his fiduciary duties owed to Trench Tech by divulging Trench

Tech’s Business Secrets to third parties, including Trench Tech’s competitors.

       68.     Trench Tech has been damaged as a result of Smith’s breach of his fiduciary

duties. Moreover, Smith has benefited by breaching his fiduciary duties owed to Trench Tech.

F.     Conspiracy to Breach Fiduciary Duty (Against Tech Con, Conlon, and Smith)

       69.     Tech Con and Conlon sought to have Gilbert and Smith breach their fiduciary

duties owed to Trench Tech, and they reached a meeting of the minds regarding this breach of

fiduciary duties. As such, Tech Con, Conlon, Gilbert, and Smith participated in one or more

unlawful, overt acts taken in pursuit of Gilbert and Smith’s breaches of fiduciary duties, namely:

(1) Tech Con and/or Conlon asked Gilbert and Smith to breach their fiduciary duties owed to

Trench Tech by taking and/or disclosing Trench Tech’s Business Secrets without Trench Tech’s

authorization; and (2) Gilbert and/or Smith breached their fiduciary duties owed to Trench Tech

by taking and disclosing Trench Tech’s Business Secrets without Trench Tech’s authorization.

Trench Tech has suffered damages as a proximate result of Tech Con, Conlon, Gilbert, and




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Smith’s conspiracy to have Gilbert and Smith breach their fiduciary duties owed to Trench Tech.

Tech Con, Conlon, and Smith should be held jointly and severally liable for all acts done by any

of them or by Gilbert in furtherance of their conspiracy to have Gilbert and Smith breach their

fiduciary duties owed to Trench Tech.

G.     Tortious Interference with Existing Contract (Against Tech Con)

       70.     The Agreed Permanent Injunction prevented the State Court Defendants from

marketing, manufacturing, or selling parts that are unique to and specifically for machines that

have been manufactured by Trench Tech for a period of five (5) years. The Agreed Permanent

Injunction constitutes a valid contract entered into by Trench Tech.

       71.     Despite learning of the Agreed Permanent Injunction shortly after the Agreed

Permanent Injunction was entered, including learning of its protection of Trench Tech’s Design

Secrets and the requirement that the State Court Defendants not market, manufacture, or sell

parts that are unique to and specifically for machines that have been manufactured by Trench

Tech, Tech Con willfully and intentionally interfered with the Agreed Permanent Injunction by

purchasing Trench Tech parts from Conex and made by C.R.P. (both State Court Defendants)

after it had learned of the restrictions but before the restrictions had expired.

       72.     Tech Con’s tortious interference with the Agreed Permanent Injunction has

proximately caused damages to Trench Tech. Tech Con has been unjustly enriched from its

purchases of the Trench Tech parts through Conex, rather than through Trench Tech and from

SIS, based on the value of what Tech Con gained through its tortious interference with contract.

       73.     Because Tech Con’s tortious interference with the Agreed Permanent Injunction

was done maliciously, Trench Tech is entitled to an award of exemplary damages.




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                                            V.
                                   THE DISCOVERY RULE

        74.    Trench Tech specifically pleads the application of the discovery rule with respect

to its Defend Trade Secrets Act claim, TUTSA claim, common law misappropriation of trade

secrets claim, conspiracy to misappropriate trade secrets claim for common law

misappropriation, breach of fiduciary duty claim, and conspiracy to breach fiduciary duty claim.

In this regard, Trench Tech did not discover that Smith and Gilbert had misappropriated its trade

secrets and had provided them to Tech Con, CTS, and Conlon until April 5, 2018 and that

Gilbert and/or Tech Con, Conlon, and CTS had provided them to Green Machine until early

2019.    Prior to those dates, Trench Tech was unaware that Smith and Gilbert had

misappropriated its trade secrets and had provided them to Tech Con, Conlon, CTS, and Green

Machine.

        75.    Trench Tech specifically pleads the application of the discovery rule with respect

to its tortious interference with existing contract claim. In this regard, Trench Tech first learned

that Tech Con had interfered with the Agreed Permanent Injunction by purchasing unique

Trench Tech parts on or about April 30, 2018, when the attorney representing Trench Tech in the

State Court Lawsuit was provided the invoices attached as Exhibit “C” by the attorney

representing the State Court Defendants. Prior to that date, Trench Tech was unaware that Tech

Con had purchased unique Trench Tech parts in violation of the Agreed Permanent Injunction.

Accordingly, limitations on Trench Tech’s tortious interference claim should be deferred until

April 30, 2018, the date when Trench Tech first learned of the tortious interference.




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                               VI.
  PRESERVATION OF EVIDENCE/SPOLIATION NOTICE TO ALL DEFENDANTS

       76.    This is to notify you that you must retain and preserve all documents, tangible

things (including machines and/or machine parts), and electronically stored information

potentially relevant to the issues in this cause. Electronically stored information should be

afforded the broadest possible definition and includes, but is not limited to: (1) emails; (2)

voicemails; (3) text messages; (4) word-processed documents; (5) spreadsheets; (6) accounting

application data; (7) image and facsimile files; and (8) computer-aided design (CAD) files.

Failure to preserve these materials will result in a request for a spoliation instruction at

any trial in this matter, and may ultimately be considered by a court as an attempt to

destroy evidence.

                                           VII.
                                         PRAYER

       WHEREFORE, Trench Tech prays that this Court enter judgment for it and order the

following relief against Defendants Tech Con Trenching, Inc., David W. Conlon, Jack Smith,

CTS Manufacturing, LLC, and Green Machine & Tool, Inc.:

       a)     actual damages;

       b)     the value of what Tech Con, Conlon, Smith, CTS, and Green Machine gained
              through their misappropriation pursuant to 18 U.S.C. § 1836(b)(3)(B);

       c)     actual damages under TUTSA (Texas Civil Practice and Remedies Code
              § 134A.004(a)), including the value of what Tech Con, Conlon, Smith, CTS, and
              Green Machine gained—the amount of their unjust enrichment—through their
              misappropriation;

       d)     actual damages under Texas common law, including the value of what Tech Con,
              Conlon, Smith, and CTS gained—the amount of their unjust enrichment—through
              their misappropriation;




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     e)    unjust enrichment damages for the value of what Tech Con gained through their
           tortious interference with contract because of the purchases of Trench Tech parts
           through Conex, rather than through Trench Tech and from SIS;

     f)    actual damages for Smith’s breaches of his fiduciary duties to Trench Tech,
           including forfeiture of all income earned by him;

     g)    permanent injunctions, as requested herein;

     h)    exemplary damages in an amount not more than two times the amount of damages
           awarded to Trench Tech under 18 U.S.C. § 1836(b)(3)(C);

     i)    exemplary damages in an amount not more than two times the amount of damages
           awarded to Trench Tech under Texas Civil Practice and Remedies Code
           § 134A.004(b);

     j)    exemplary damages under Texas Civil Practice and Remedies Code Chapter 41;

     k)    prejudgment interest as provided by law;

     l)    postjudgment interest as provided by law;

     m)    attorneys’ fees;

     n)    all costs incurred in prosecuting this action; and

     o)    such other and further relief, general or special, whether at law or in equity, to
           which Trench Tech may be justly entitled.

                                                  Respectfully submitted,

                                                  CURNUTT & HAFER, L.L.P.

                                                  By:/s/ Stephen W. Kotara
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                                CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the foregoing instrument was delivered by
electronic service to the following parties and counsel of record on April 5, 2021:

Jonathan Pierce
PORTER HEDGES LLP
1000 Main Street, 36th Floor
Houston, Texas 77002
Attorney for Tech Con Trenching, Inc.
and David W. Conlon

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Attorney for Jack Smith


                                                     /s/ Stephen W. Kotara
                                                     Stephen W. Kotara




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